        Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 1 of 7



1
                           UNITED STATES DISTRICT COURT
2
                         NORTHERN DISTRICT OF CALIFORNIA
3
                               SAN FRANCISCO DIVISION
4
     IN RE GOOGLE PLAY STORE                 Case No. 3:21-cv-05227-JD
5    ANTITRUST LITIGATION
6    THIS DOCUMENT RELATES TO:                       DECLARATION OF ERIC SCHACHTER IN
                                                     SUPPORT OF STATES’ NOTICE OF
7    State of Utah et al. v. Google LLC et al., Case MOTION AND MOTION FOR APPROVAL
     No. 3:21-cv-05227-JD                            OF NOTICE FOR PARENS PATRIAE
8                                                    CLAIMS
9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
       DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
                             NOTICE FOR PARENS PATRIAE CLAIMS

                                   Case No. 3:21-cv-05227-JD
       Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 2 of 7




1         I, Eric Schachter, hereby declare as follows:

2         1.      I am a Senior Vice President with A.B. Data, Ltd. (“A.B. Data”). I am fully familiar

3    with the facts contained herein based upon my personal knowledge, and if called as a witness,

4    could and would testify competently thereto. I submit this Declaration at the request of State

5    Plaintiffs’ Counsel in connection with the above-captioned action (the “Action”).

6         2.      A.B. Data has been appointed as Notice, Claims, and/or Settlement Administrator

7    in hundreds of class actions and related matters, administering some of the largest and most

8    complex notice and claims administration programs of all time, involving all aspects of media,

9    direct, and third-party notice programs, data management and analysis, claims administration,
10   and settlement fund distribution.
11        3.      I have over 20 years of experience in legal administration that includes
12   implementing and maintaining notice plans and claims administration programs in hundreds of
13   class action cases and related proceedings, including complex consumer, antitrust, and securities
14   class actions; Securities and Exchange Commission settlements and related distributions; and
15   civil rights, employment, and insurance class actions.
16        4.      At the request of State Plaintiffs and in consultation with A.B. Data’s media
17   experts, I have prepared a proposed notice plan for this litigation. This Declaration will describe
18   the proposed notice plan and how it will meet due process requirements. This Declaration is
19   based upon my personal knowledge and upon information provided to me by States Plaintiffs’
20   Counsel, my associates, and A.B. Data staff members.
21        5.      The objective of the proposed notice plan is to provide the best practicable notice
22   under the circumstances to consumers who paid for an App through the Google Play Store or
23   paid for in-App content (including subscriptions or ad-free versions of apps) through Google
24   Play Billing on or after August 16, 2016 (“Qualifying Purchase”) and who, at the time of the
25   purchase, had a Google payments profile address in Alaska, Arizona, Arkansas, California,
26   Colorado, Connecticut, Delaware, Florida, Idaho, Indiana, Iowa, Kentucky, Maine, Maryland,
27   Massachusetts, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New
28
     DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
               NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                     1
       Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 3 of 7




1    Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Oklahoma,

2    Oregon, Rhode Island, South Dakota, Tennessee, Texas, Virginia, Vermont, Utah, Washington,

3    West Virginia, and/or the District of Columbia.

4                                          DIRECT NOTICE

5         6.      A.B. Data understands from State Plaintiffs that email addresses for approximately

6    80 million consumers who made Qualifying Purchases would be available to use for notice.

7    Since such robust direct contact information is available and these consumers are presumably

8    computer savvy and thus reachable by email given their Qualifying Purchases with Google,

9    sending email notice to these users would reach as many potential consumers as possible and
10   would be the best notice practicable under the circumstances. As such, the proposed notice plan
11   will feature robust direct notice via email to all consumer email addresses identified by Google.
12        7.      For sending email notice, A.B. Data implements certain best practices when
13   disseminating email to maximize deliverability. For example, the subject line, the sender, and
14   the body of the message will be designed to overcome SPAM filters and encourage readership.
15   The email notice will be in an embedded html text format without graphics, tables, images,
16   attachments, and other elements that would increase the likelihood that the message could be
17   blocked by email service providers. The email notice will also be transmitted with a digital
18   signature to the header and content of the email notice, which will allow providers to
19   programmatically authenticate that the email notices are from A.B. Data’s authorized mail
20   servers. The email notice will also include an embedded link to the case website for consumers
21   to easily access frequently asked questions, important dates and deadlines, and other relevant
22   information about the case.
23                                         DIGITAL MEDIA

24        8.      To supplement direct notice efforts, targeted digital banner and newsfeed

25   advertisements will be placed on various websites and applications through cross-devices.

26   Digital advertising allows the viewer to click on a banner or newsfeed advertisement and

27

28
     DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
               NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                    2
          Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 4 of 7




1    instantly be directed to the case website. Guided by our in-house Comscore 1 data analysis, A.B.

2    Data’s digital media experts will place digital banner, text, and/or newsfeed ads through popular

3    digital networks and social media platforms. Because of the vast reach of Google’s online

4    advertising network, which according to Google reaches over 90% of Internet users worldwide,

5    A.B. Data recommends using Google-owned platforms to accomplish the best notice practicable

6    under the circumstances. Specifically, the notice plan would feature Google Display Networks,

7    Google AdWords, and YouTube. Facebook and Instagram would also be utilized. In the event

8    Google-owned platforms cannot be used, A.B. Data would utilize Facebook, Instagram, and

9    alternative digital and social networks such as Yahoo! and Microsoft.
10           9.      The digital impressions will be highly targeted, specifically delivered to the social
11   media feeds of consumers by using either their known contact information, or to digital users
12   that have expressed an interest in information relevant to the subject of this case, such as
13   information concerning Google Made Devices.
14           10.     Several campaign optimization strategies will be utilized including:
15       •   Mobile In-App - targeting users inside mobile applications that fit into our data pool;
16       •   Mobile websites - targeting phones and tablets whose users are visiting websites that are
17           contextually relevant;
18       •   Contextual targeting - serving ads on websites with relevant content such as websites that
19           feature Google Made Devices;
20       •   Behavioral targeting - targeting user ID’s whose owners have shown activity in the target
21           data pools, such as those interested in Google Made Devices; and
22       •   Predictive Modeling - Using “look alike” modeling to target user ID’s whose owners have
23           strong similarities to users who previously clicked through to the case websites.
24           11.     All banner and newsfeed ads will include embedded and trackable links to the case-
25
     1
       Comscore is a global internet information provider on which leading companies and advertising agencies rely for
26   consumer behavior insight and internet data usage. Comscore maintains a proprietary database of more than 2
     million consumers who have given Comscore permission to monitor their browsing and transaction behavior,
27   including online and offline purchasing.

28
         DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
                   NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                            3
       Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 5 of 7




1    specific website providing a way to optimize ads based on traffic and conversions. A.B. Data

2    employs a fully staffed digital buying team to manage all digital and social media programs in-

3    house for the greatest control and oversight. A.B. Data’s digital media experts will monitor the

4    success, conversions, and activity associated with the digital and social media and will optimize

5    the number of impressions delivered across each platform to achieve maximum engagement and

6    efficiency.

7         12.      The digital and social media ad campaign, including utilization of the digital

8    networks and social media described above, will run between 30 and 60 days to ensure ample

9    time to deliver the targeted impressions and drive consumers to the website. We expect a
10   minimum of 60 million impressions to be delivered across digital networks and social media,
11   enabling maximum exposure and delivering the reach required to satisfy due process. The
12   proposed digital and social media ad campaign is flexible and can be adjusted as necessary to
13   provide sufficient notice coverage. Thus, the number of impressions ultimately served will
14   depend on how many consumers are successfully sent direct notice by email and will be adjusted
15   accordingly to provide sufficient reach.
16                                          EARNED MEDIA

17        13.      A.B. Data recommends that a news release be disseminated via PR Newswire’s

18   US1 and Multi-cultural Newsline distribution lists. This news release will be distributed via PR
19   Newswire to the news desks of approximately 10,000 newsrooms across the United States and

20   will be translated and published in various languages. This release will also be tweeted from PR

21   Newswire’s and A.B. Data’s Twitter accounts to thousands of news media and other followers.

22                              TOLL-FREE TELEPHONE NUMBER

23        14.      A.B. Data will implement and maintain a toll-free telephone number with an

24   automated interactive voice response system. The toll-free telephone number will appear on the

25   Short-Form Notice and Long-Form Notice. The automated interactive voice response system

26   will present callers with a series of choices to hear prerecorded information concerning the

27   Action. If callers need further help, they will have an option to leave a voicemail for a call back.

28
     DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
               NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                     4
       Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 6 of 7




1                                               WEBSITE

2         15.     A.B. Data will also implement and maintain a case-specific website for this matter.

3    The website address will appear on the notices and will be hyperlinked from the digital banner

4    ads. The website will provide, among other things, a summary of the case and consumer rights

5    and options, relevant pleadings, important dates, any pertinent updates concerning the Action,

6    and the ability to request exclusion online if applicable.

7                                           DATA SECURITY

8         16.     A.B. Data is committed to protecting the confidentiality, integrity, and availability

9    of personal identifying information and other information that it collects from its clients and
10   consumers and requires that its employees, subcontractors, consultants, service providers, and
11   other persons and entities it retains do the same. A.B. Data has an Information Security Policy
12   in place, which is a suite of policies and procedures intended to cover all information security
13   issues and bases for A.B. Data, and all of its divisions, departments, employees, vendors, and
14   clients. Consistent with that policy, all data provided directly to A.B. Data will be used solely
15   for the purpose of effecting the terms of the notice plan. A.B. Data will not use information to
16   be provided by consumers or parties to the Action for any other purpose.
17        17.     A.B. Data has a number of high-profile clients, including the SEC, the United
18   States Department of Justice, other agencies of the United States government, as well as direct
19   banking and payment services companies with some of the most recognized brands in United
20   States financial services and some of the largest credit card issuers in the world. We are therefore
21   frequently subjected to physical, logical, data, and information systems security reviews and
22   audits. We have been compliant with our clients’ security standards and have also been
23   determined to be compliant with ISO/IEC 27001/2 and Payment Card Industry (PCI) data
24   security standards, the Gramm-Leach-Bliley (GLB) Act of 1999, the National Association of
25   Insurance Commissioners (NAIC) Regulations, the Health Insurance Portability and
26   Accountability Act (HIPAA) of 1996, and the Health Information Technology for Economic
27   and Clinical Health Act (HITECH).
28
     DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
               NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                     5
        Case 3:21-md-02981-JD Document 545-3 Filed 07/27/23 Page 7 of 7




1                                             CONCLUSION

2          18.     It is my opinion, based on my individual expertise and experience and that of my

3    A.B. Data colleagues, that the proposed notice plan described herein reflects a strategic and

4    contemporary method of deploying notice to consumers and is adequate and reasonable to reach

5    consumers effectively. A.B. Data reasonably believes that the reach of the notice plan, through

6    a multi-media-channel approach that includes direct email, digital banner ads, microtargeted

7    digital notice, social media, and earned media, will satisfy due process and is the best practicable

8    notice plan under the circumstances.

9
10         I declare under penalty of perjury under the laws of the United States of America that the
11   foregoing is true and correct.
12         Executed this 25th day of July 2023 in Milwaukee, Wisconsin.
13

14

15                                                                Eric Schachter
                                                                  A.B. Data, Ltd.
16                                                                Milwaukee, Wisconsin
17

18
19

20

21

22

23

24

25

26

27

28
      DECLARATION OF ERIC SCHACHTER IN SUPPORT OF STATES’ MOTION FOR APPROVAL OF
                NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                     6
